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4    Telephone: (916) 554-2700
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7
8                     IN THE UNITED STATES DISTRICT COURT
9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               ) 2:08-cr-00481 MCE
                                             )
12               Plaintiff,                  )
                                             ) MOTION TO DISMISS
13         v.                                ) INFORMATION
                                             ) and ORDER DISMISSING
14   Zhen Lin,                               ) INFORMATION
                                             )
15                Defendant.                 )
                                             )
16
17         Pursuant to Rule 48(a) of the Federal Rules of Criminal
18   Procedure, Plaintiff, United States of America, by and through
19   its undersigned attorney, asks the Court to file an order
20   dismissing the information against Zhen Lin, filed on October 16,
21   2008, in CR. No. S-08-481 MCE.      Upon further examination of the
22   ///
23   ///
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26   ///
27   ///
28   ///

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1    evidence in this case, the government has decided not to
2    prosecute Zhen Lin.
3
4                                         Respectfully submitted,
5                                         LAWRENCE G. BROWN
6                                         Acting United States Attorney

7    Date: March 3, 2009            By:   /s/ Kyle Reardon
8                                         KYLE REARDON
                                          Assistant U.S. Attorney
9                                         Attorneys for the Plaintiff
10                                        UNITED STATES OF AMERICA

11
                                    O R D E R
12
     APPROVED AND SO ORDERED:
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14
     Dated: March 6, 2009
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                                      _____________________________
17                                    MORRISON C. ENGLAND, JR.
18                                    UNITED STATES DISTRICT JUDGE

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